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                                             United States District Court
                                                           Southern District of Florida
                                                                   MIAMI DIVISION

   UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE

   v.                                                                        Case Number: 04-60001-CR-COOKE

   ADHAM AMIN HASSOUN
                                                                             USM Number: 72433-004

                                                                             Counsel For Defendant: Kenneth Swartz and Jean Baker
                                                                             Counsel For The United States: Russell Killinger
                                                                             Court Reporter: Robin Dispenzieri
   ___________________________________



   The defendant was found guilty on Counts one, two and three of the Indictment.
   The defendant is adjudicated guilty of the following offenses:


          TITLE/SECTION                                  NATURE OF
             NUM BER                                      OFFENSE            OFFENSE ENDED                          COUNT

     18, U.S.C. § 956(a)(1)                      Conspiracy to murder,       November 1, 2001                            1
                                                 kidnap and maim persons
                                                 in a foreign country.

     18, U.S.C. § 371                            Conspiracy to provide       November 1, 2001                            2
                                                 material support for
                                                 terrorism.

     18, U.S.C. § 2339A(a)                       Material support to         November 1, 2001                            3
                                                 terrorists.

   The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to
   the Sentencing Reform Act of 1984.

   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of
   name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
   are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any material
   changes in economic circumstances.

                                                                                       Date of Imposition of Sentence:
                                                                                       1/22/2008




                                                                                       January 22, 2008
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                                                               IMPRISONMENT
            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
   a term of 188 months as to Count 1; 60 months as to Count 2, and; 180 months as to Count 3. All to be served
   concurrently.

   The Court makes the following recommendations to the Bureau of Prisons:

                That the Defendant serve his sentence at FCI M iami, Florida. The Court also recommends the
                Defendant to be kept in FDC Miami, Florida pending the remaining charges in this case and appeal.

   The defendant is remanded to the custody of the United States Marshal.




                                                                 RETURN

   I have executed this judgment as follows:




   Defendant delivered on ____________________ to _________________________________

    at _____________________________________________, with a certified copy of this judgment.


                                                                            __________________________________
                                                                                 UNITED STATES MARSHAL


                                                                          By:__________________________________
                                                                                      Deputy U.S. Marshal
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                                                               SUPERVISED RELEASE

   Upon release from imprisonment, the defendant shall be on supervised release for a term of 20 years.

            The defendant shall report to the probation office in the district to which the defendant is released within 72
   hours of release from custody of the Bureau of Prisons.

   The defendant shall not commit another federal, state or local crime.

   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
   of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
   at least two periodic drug tests thereafter, as determined by the court.

                The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.


           If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the
   defendant pay in accordance with the Schedule of Payments sheet of this judgment.

            The defendant must comply with the standard conditions that have been adopted by this court as well as any
   additional conditions on the attached page.



                                           STANDARD CONDITIONS OF SUPERVISION

   1.           The defendant shall not leave the judicial district without the permission of the court or probation officer;
   2.           The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful
                and complete written report within the first five days of each month;
   3.           The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
                officer;
   4.           The defendant shall support his or her dependents and meet other family responsibilities;
   5.           The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
                or other acceptable reasons;
   6.           The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
   7.           The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
                any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8.           The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9.           The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
                convicted of a felony unless granted permission to do so by the probation officer;
   10.          The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
                confiscation of any contraband observed in plain view by the probation officer;
   11.          The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law
                enforcement officer;
   12.          The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
                without the permission of the court;
   13.          As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
                defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
                notifications and to confirm the defendant’s compliance with such notification requirement.
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                                              SPECIAL CONDITIONS OF SUPERVISION

                The defendant shall also comply with the following additional conditions of supervised release:

            The defendant shall provide complete access to financial information, including disclosure of all business and
   personal finances, to the U.S. Probation Officer.

            At the completion of the defendant’s term of imprisonment, the defendant shall be surrendered to the custody
   of the U.S. Immigration and Customs Enforcement for removal proceedings consistent with the Immigration and
   Nationality Act.

   If removed, the defendant shall not reenter the United States without the prior written permission of the Undersecretary
   for Border and Transportation Security. The term of supervised release shall be non-reporting while the defendant is
   residing outside the United States. If the defendant reenters the United States within the term of supervised release, the
   defendant is to report to the nearest U.S. Probation Office within 72 hours of the defendant’s arrival.

           Permissible Search:     The defendant shall submit to a search of his/her person or property conducted in a
   reasonable manner and at a reasonable time by the U.S. Probation Officer.
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                                                   CRIMINAL MONETARY PENALTIES


                The defendant must pay the total criminal monetary penalties under the Schedule of Payments.


                  Total Assessment                                Total Fine                                Total Restitution

                          $300.00                                       $                                             $




   *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
   committed on or after September 13, 1994, but before April 23, 1996.
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                                                               SCHEDULE OF PAYMENTS

   Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

                 A. Lump sum payment of $300.00 due immediately.


   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
   penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
   Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

   The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

                 U.S. CLERK’S OFFICE
                 ATTN: FINANCIAL SECTION
                 301 N. M IAM I AVENUE, ROOM 150
                 M IAM I, FLORIDA 33128

   The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
   the U.S. Attorney’s Office are responsible for the enforcement of this order.




   Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
   principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court
   costs.
